     Case 3:20-cv-02910-X Document 425 Filed 06/13/22                  Page 1 of 5 PageID 7271



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION


                                                          §
U.S. COMMODITY FUTURES TRADING                            §
COMMISSION, et al.                                        §
                                                          §
                         Plaintiffs,                      §
                                                          §
v.                                                        §
                                                          §            CIVIL ACTION NO.
TMTE, INC. a/k/a METALS.COM, CHASE                        §              3:20-CV-2910-E
METALS, INC., CHASE METALS, LLC,                          §
BARRICK CAPITAL, INC., LUCAS THOMAS                       §
ERB a/k/a LUCAS ASHER a/k/a LUKE ASHER,                   §
and SIMON BATASHVILI,                                     §
                                                          §
                         Defendants,                      §
                                                          §
TOWER EQUITY, LLC,                                        §
                                                          §
                         Relief Defendant.                §
                                                          §




            RECEIVER'S MOTION TO PAY FLAT FEE AMOUNT TO SPECIAL
           COUNSEL TO EJECT SQUATTERS IN PHILADELPHIA PROPERTIES

            COMES NOW, Kelly M. Crawford, as the Court appointed Receiver (as defined

     below), and respectfully moves the Comi as follows:

            1.      On September 22, 2020, this Comi entered an Order Granting Plaintiffs'

     Emergency Ex Parte Motion for Statutory Restraining Order, Appointment of Receiver, and

     Other Equitable Relief(the "SRO") [Docket No. 16].

            2.      Pursuant to the SRO, this Court appointed Kelly M. Crawford as receiver (the

     "Receiver") of the assets of the Defendants and Relief Defendant and vested the Receiver with

     certain authority to, amongst other things, recover assets and investigate claims (the

RECEIVER'S MOTION TO PAY FLAT FEE AMOUNT TO SPECIAL COUNSEL TO EJECT
SQUATTERS IN PHILADELPHIA PROPERTIES                                                                 1
    Case 3:20-cv-02910-X Document 425 Filed 06/13/22                     Page 2 of 5 PageID 7272



" Receivership"). Thereafter, the SRO was extended by an Order entered by the Court on

October 5, 2020 [Docket No. 148] and agreed to by Defendants per the consent orders entered

on October 15, 2020 (the "Consent Orders") [Docket Nos. 164-165].

        3.      On December 9, 2021, the Court entered the Consent Order Governing the

Administration of the Receivership, Procedures Governing the Sale or Abandonment ofPersonal

Property, Notice of Intended Sale, Disposition o.f Various Items and Fee Application Procedures

(the "Administration Consent Order") [Docket No. 213].

        4.      The Administration Consent Order, which governs the administration of the

Receivership, provided for, amongst other things, procedures for the sale of real propetiy and

incorporated the requirements of 28 U.S.C. § 2001(b in connection with such sales.

        5.      Pursuant to the authority provided by the SRO and Consent Orders, the Receiver

obtained control of seventeen (17) real properties, located in Philadelphia, Pennsylvania, owned

by Relief Defendant Tower Equity, LLC (the "Philadelphia Propetiies"). Thereafter, and under

the afforded authority of the Administration Consent Order, the Receiver listed the Philadelphia

Properties for sale through Daniel Baer of the brokerage, Baer Real Estate Group (the "Broker").

        6.      Subsequent to the entry of Administration Consent Order, in 2021, the Receiver

obtained Court permission to sell, and in fact sold, no less than five (5) of the Philadelphia

Properties--for a total cash consideration approximating $ 960,000.00 1 leaving approximately

twelve (12) of the Philadelphia Properties remaining to be disposed of (the "Remaining

Propetiies").

        7.      On October 5, 2021, the Court entered an order staying all proceedings in the



1
 See e.g., Order Appointing Appraisers, Approving Appraisals, And Setting Hearing Regarding Approval of
Sale of Certain Real Properties, [Docket No. 274]; Order Appointing Appraisers, Approving Appraisals, And
Setting Hearing Regarding Approval of Sale of Certain Two Additional Properties, [Docket No. 275].

RECEIVER'S MOTION TO PAY FLAT FEE AMOUNT TO SPECIAL COUNSEL TO EJECT
SQUATTERS IN PHILADELPHIA PROPERTIES                                                                        2
    Case 3:20-cv-02910-X Document 425 Filed 06/13/22                           Page 3 of 5 PageID 7273



above styled matter including the Receiver's activities, absent leave of Court (the "Stay

Order"). 2 Accordingly the Receiver, immediately ceased marketing and/or selling the Remaining

Properties. 3

        8.       On May 13, 2022, the Comi lifted the Stay Order. 4

        9.       Since the lifting of the Stay Order, while the Receiver has reengaged the Broker to

remarket the Remaining Prope1iies, the Broker has advised the Receiver that the following three

prope1iies, which, upon information and belief, have an estimated, aggregate fair market value

that approximates $400,000.00, have squatters living in or on them:

                 a)       2222 South Clarion, Philadelphia, Pennsylvania.

                 b)       1851 South Ringgold, Philadelphia, Pennsylvania; and

                 c)       6616 Chew Ave, Philadelphia, Pennsylvania.

         10.     Upon information and belief, squatters have rights in Philadelphia, Pennsylvania

that preclude their eviction but allow them to be ejected only pursuant to specific and detailed

legal procedures.

         11.     Accordingly, the Receiver has retained the Philadelphia, Pennsylvania based law

firm of Katz Barsky ("Special Counsel"),which firm specializes in ejectment actions against

squatters, to represent the Receiver in ejecting the squatters from the subject prope1iies. By this

motion, the Receiver specifically seeks permission to pay Special Counsel a flat fee of $3,500,

plus $500 filing fee, per case, for the total sum of $12,000.00 ("Flat Fee Amount").




2
  See Docket No. 322.
3 On December 22, 2021, while the Receiver filed his Motion for Leave to File Motion for Appointment of
Appraisers, Approval of Appraisals of Remaining Philadelphia Real Properties ("Motion for Leave") (Doc. # 342) to
sell some if not all of the Remaining Properties (which Motion for Leave was subsequently granted per Court order
entered April 19, 2022), the Receiver ultimately had to abandon the proposed disposition of the subject properties.
4
  See Docket No.380

RECEIVER'S MOTION TO PAY FLAT FEE AMOUNT TO SPECIAL COUNSEL TO EJECT
SQUATTERS IN PHILADELPHIA PROPERTIES                                                                             3
   Case 3:20-cv-02910-X Document 425 Filed 06/13/22                Page 4 of 5 PageID 7274



       WHEREFORE, PREMISES CONSIDERED, the Receiver requests that the Court

(a) grant this motion to allow the Receiver to pay Special Counsel the Flat Fee Amount, and (b)

afford the Receiver such other and fmiher relief as to which the Receiver may be justly entitled.

                                               Respectfully submitted,

                                               SCHEEF & STONE, L.L.P.


                                             By: Isl Peter Lewis
                                                 Peter Lewis
                                                State Bar No. 12302100
                                                peter.lewis@solidcounsel.com
                                                500 North Akard, Suite 2700
                                                 Dallas, Texas 75201
                                                Telephone: (214) 706-4200
                                                Telecopier: (214) 706-4242

                                                 ATTORNEYS FOR RECEIVER
                                                 KELLY M. CRAWFORD




RECEIVER'S MOTION TO PAY FLAT FEE AMOUNT TO SPECIAL COUNSEL TO EJECT
SQUATTERS IN PHILADELPHIA PROPERTIES                                                                4
   Case 3:20-cv-02910-X Document 425 Filed 06/13/22                 Page 5 of 5 PageID 7275




                            CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that the Receiver conferred with counsel for the

Commodity Futures Trading Commission ("CFTC") regarding this Motion and counsel for the

CFTC is unopposed to the Motion. On June 9, 2022, for purposes of conferring, a copy of this

Motion was sent to Gene Besen and Elisha Kobre, as putative counsel for Individual Defendants

Asher and Batashvili. On June 10, 2022, Gene Besen confirmed that the Individual Defendants

were not opposed to the Motion.



                                                  Isl Peter Lewis
                                                  PETER LEWIS



                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on June 13, 2022, I electronically filed the

foregoing document with the clerk of the U.S. District Couti, Northern District of Texas, using

the electronic case filing system of the court, which provided a "Notice of Electronic Filing" to

 all attorneys of record.



                                                     Isl Peter Lewis
                                                     PETER LEWIS




RECEIVER'S MOTION TO PAY FLAT FEE AMOUNT TO SPECIAL COUNSEL TO EJECT
SQUATTERS IN PHILADELPHIA PROPERTIES                                                            5
